     Case 2:13-cr-00024-TOR     ECF No. 314   filed 05/05/14   PageID.2424 Page 1 of 1




 1                        UNITED STATES DISTRICT COURT
 2                      EASTERN DISTRICT OF WASHINGTON
 3 UNITED STATES OF AMERICA,                      No. CR-13-024-FVS-2
 4
                Plaintiff,                        ORDER GRANTING
 5                                                MOTION TO EXPEDITE AND
 6 vs.                                            MOTION TO MODIFY ORDER
 7
     LARRY LESTER HARVEY,                         ☒      Motions Granted
 8
                       Defendant.                        (ECF No. 308, 309)
 9
10          Before the Court is Defendant’s Motion to Modify this Court’s Order
11   entered May 1, 2014.     Originally, the Defendant filed a Motion to travel to
12   Washington, D.C., from May 4-6, 2014, which the Court granted. However,
13   because of the difficulty in making last-minute travel arrangements to return on
14   May 6th, the Defendant had to make arrangements to return May 7th. Accordingly,
15          IT IS ORDERED:
16          1.   For good cause shown, the Defendant’s Motion to Expedite, ECF No.
17   309, is GRANTED.
18          2.   The Defendant’s Motion to Modify, ECF No. 308, is GRANTED.
19          3.   Defendant may travel to Washington, D.C., on May 4, 2014,
20   returning to Spokane no later than May 7, 2014. Defendant shall advise his
21   supervising Pretrial Services of his contact information while he is in Washington,
22   D.C.
23          4.   Defendant shall abide by all conditions of release during his trip to
24   Washington D.C.
25          DATED May 5, 2014.
26
27                               _____________________________________
                                           JOHN T. RODGERS
28                                UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
